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    1    LATHROP GPM LLP
    2    Nancy Sher Cohen, Bar No. 81706
           nancy.cohen@lathropgpm.com
    3    Ronald A. Valenzuela, Bar No. 210025
    4      ronald.valenzuela@lathropgpm.com
         2049 Century Park East, Suite 3500S
    5    Los Angeles, California 90067-1623
    6    Telephone: 310.789.4600
         Facsimile: 310.789.4601
    7
    8   LATHROP GPM LLP
        William F. Ford (admitted pro hac vice)
    9     bill.ford@lathropgpm.com
   10   2345 Grand Boulevard, Suite 2200
        Kansas City, Missouri 64108
   11   Telephone: 816.292.2000
   12   Facsimile: 816.292.2001
   13   Attorneys for Plaintiffs
   14   BASF Corporation et al.
   15
                                   UNITED STATES DISTRICT COURT
   16
                               CENTRAL DISTRICT OF CALIFORNIA
   17
   18    BASF CORPORATION, et al.,                Case No. 2:14-cv-06456 GW (Ex.)
   19          Plaintiffs,                        JULY 7, 2022 JOINT SCHEDULING
   20    v.                                       REPORT FOR PHASE 2
   21    APC INVESTMENT CO., et al.,
   22          Defendants.
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    1         Plaintiffs BASF Corporation et al. (“Plaintiffs”) and defendants APC
    2   Investment Co. et al. (“Defendants”) submit this Joint Scheduling Report for Phase
    3   2, as required under the Court’s June 30, 2022 Order (ECF No. 1109). The parties
    4   were unable to agree upon a trial date or pretrial schedule and, accordingly, set out
    5   their respective positions below.
    6   I.    PLAINTIFFS’ POSITION
    7         Plaintiffs believe that this case can be prepared for trial by March 27, 2023.
    8   Defendants insist that trial begin months later, in October 2023. In an effort to
    9   resolve the parties’ dispute, Plaintiffs suggested that the parties compromise and
   10   agree to a June 1, 2023 trial date, especially given that the Court has already
   11   indicated that it was inclined to set a trial date closer to March 2023, as Plaintiffs
   12   have proposed, than to October 2023, the timeframe Defendants are insisting upon.
   13   Defendants refused to compromise or offer an alternative trial date to resolve the
   14   parties’ dispute.
   15         A.     June 30 Scheduling Conference
   16         On June 30, 2022, the parties appeared before the Court to discuss a trial date
   17   and pretrial schedule for this case. The parties proposed alternative schedules.
   18   Plaintiffs proposed a March 27, 2023, trial date. Defendants proposed a January 14,
   19   2025, trial date. See Jun. 24, 2022 Joint Scheduling Report for Phase 2 (ECF No.
   20   1104). During the conference, and consistent with the Court’s June 29, 2022
   21   Tentative Position Re Proposed Schedule (ECF No. 1106) (“Tentative”), the Court
   22   indicated that it was inclined to adopt Plaintiffs’ proposed schedule. See Tentative
   23   at 2; Tr. of Scheduling Conference (“Tr.”) at 8:2-11 (Jun. 30, 2022).
   24         In light of the Court’s comments, Defendants’ liaison counsel abandoned
   25   Defendants’ request for a 2025 trial date and suggested a fall 2023 trial date. See Tr.
   26   at 9:4-7. However, the Court’s stated that it was “not going wait around, even to,
   27   like, the end of 2023 for the trial in this matter. The trial is going to be way before
   28   that.” Id. at 8:7-11 (emphasis added). The Court added that


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    1                    If I cut the baby, I’m cutting the baby much closer to March of
    2                    2023, than I would be to even, like, October of 2023.

    3 Id. at 12:24-13:1. The Court ordered the parties to further meet and confer to try to reach a
    4 compromise having now had the benefit of the Court’s thinking on the issue as reflected in
    5 the Tentative.
    6           B.       Efforts to Reach Agreement on a Pretrial Schedule
    7           On July 1, the parties conferred as ordered by the court. Plaintiffs advised
    8   Defendants’ liaison counsel that it was clear that the Court would likely set a trial
    9   date “closer to March of 2023 … than … October of 2023. So, to avoid burdening
   10   the Court with dueling schedules, plaintiffs were willing to compromise and would
   11   agree to a June 1 trial date, even though Plaintiffs believed that the case could be
   12   prepared for trial well before that. Under the proposed compromise, fact discovery
   13   would be conducted from July 29 through December 23, 2022, expert discovery
   14   would be conducted December 24, 2022 through March 20, 2023, and pretrial
   15   motion practice would be conducted from March 21 through May 11, 2023.
   16           Defendants rejected the compromise and insisted that the trial date be set
   17   toward the end of 2023, perhaps in October—despite the Court’s clear message
   18   during the June 30 Scheduling Conference that it would not set a date trial toward
   19   the end of the 2023. Defendants continue to argue that the parties cannot prepare
   20   the case for trial before October 2023. But of course, just a week ago, during the
   21   June 30 Scheduling Conference, Defendants represented to the Court that it would
   22   be nearly impossible to prepare the case for trial in less than 2 ½ years, namely,
   23   before January 2025, so their representations on this subject should be taken with a
   24   grain of salt.
   25           On July 5, Plaintiffs advised Defendants’ liaison counsel that the parties were
   26   at an impasse, so Plaintiffs intended to ask the Court to set a March 27, 2023 trial
   27   date and adopt the schedule that Plaintiffs submitted with the June 24, 2022 Joint
   28   Scheduling Report, which is attached here as Attachment 1 for the Court’s


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    1   convenience. Later that evening, Defendants proposed, via e-mail, that the parties
    2   agree that, regardless of which trial date the Court sets, (1) Initial Disclosures will
    3   be served July 22, a week earlier than either Plaintiffs or Defendants had previously
    4   proposed, and (2) Defendants would serve their first round of discovery on
    5   Plaintiffs on July 29.1 Defendants did not explain why accelerating by 1 week the
    6   deadline for Initial Disclosures was necessary or prudent.2 The proposal was all the
    7   more baffling given Defendants’ repeated (and hollow) insistence that more, not
    8   less, time was needed to conduct discovery.
    9          The next morning, July 6, Plaintiffs reminded Defendants that Plaintiffs had
   10   indicated during the June 30 telephonic meet-and-confer that Plaintiffs would be
   11   willing to discuss adjustments to the pretrial schedule Plaintiffs had proposed if
   12
        1
   13     Defendants also indicated that they intended to propound discovery on each individual
        Plaintiff rather than on Plaintiffs as a group. But as previously discussed with this Court,
   14   Plaintiffs act as a group and are treated as a single group by the federal and state
   15   governments with respect to Plaintiffs’ obligations under the OU2 Consent Decree and in
        other communications and interactions involving the Omega Chemical Corporation
   16   Superfund Site. Indeed, previously, Defendants have always treated Plaintiffs as a single
   17   group when conducting discovery, engaging in motion practice, and in all other aspects of
        litigation in this case. Moreover, Plaintiffs have stipulated to liability in this case having
   18   formerly “arranged” for the proper processing or disposal of chemicals by the now-defunct
   19   Omega Chemical Corporation in Whittier, California. Defendants offer no explanation, let
        alone a justification, as to what has now changed that warrants or requires individualized
   20   discovery about Plaintiffs. Nor can they. Instead, Defendants’ threat to conduct such
   21   discovery is likely nothing more than an attempt to unnecessarily expand the amount of
        discovery and further prolong this litigation.
   22   2
          Defendants also proposed that Plaintiffs stipulate “that chemicals from the Omega site
   23   have migrated throughout the OU-2 groundwater plume.” Plaintiffs promptly wrote back,
   24   indicating that Plaintiffs are generally willing to discuss stipulations that will streamline or
        narrow the issues for trial but would expect Defendants to reciprocate. To date, most
   25   Defendants have been unwilling to stipulate to anything, even admitted and uncontroverted
   26   facts. The recent liability summary-judgment motions offer the most recent example of this.
        That said, Plaintiffs indicated that if Defendants provided a draft stipulation, Plaintiffs
   27   would consider it, as it was unclear from Defendants’ e-mail what Defendants were
   28   proposing, and Plaintiffs could not respond to the vague proposal.


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    1   Defendants would agree to a June 1 trial date. But given that Defendants rejected
    2   the June 1 compromise, Plaintiffs intended to ask the Court to adopt the schedule
    3   that Plaintiffs submitted with the June 24, 2022 Joint Scheduling Report and saw no
    4   reason to modify it, as Defendants were now proposing.
    5         C.     The Court Should Set a March 27, 2023 Trial Date and Adopt
    6                Plaintiffs’ Proposed Pretrial Schedule.
    7         Plaintiffs believe that this case can be (and should be) efficiently and
    8   expeditiously resolved by early next year. Adopting Plaintiffs’ proposed schedule
    9   and a March 27, 2023 trial date will promote judicial economy and conserve the
   10   parties’ resources, as it will compel the parties to focus on the salient, disputed
   11   issues, promptly complete any remaining discovery, and either prepare their cases
   12   to be tried on the merits or avoid the expense and litigation risks of trial by
   13   engaging in serious efforts to resolve their dispute informally. An earlier trial date
   14   will also promote a global resolution of Plaintiffs’ pending and prospective
   15   CERCLA claims against the Cal-Tron defendants and dozens of other PRPs.
   16         Plaintiffs ask the Court to set a March 27, 2023 trial date and adopt
   17   Plaintiffs’ schedule, as set forth in the proposed order submitted with this Report.
   18
   19   II.   DEFENDANTS’ POSITION
   20         Defendants, through their liaison counsel, respectfully request the Court enter
   21   a scheduling order setting October 16, 2023 as the trial date in this matter, along
   22   with the related pre-trial deadlines discussed below and set forth in the proposed
   23   order attached as Exhibit A. Defendants’ schedule is measured, reasonable, and
   24   responsive to the Court’s guidance at the June 30, 2022 hearing. It provides for
   25   eight months of fact discovery, four months of expert discovery, and two months
   26   for motions in limine, Daubert motions, or motions for summary judgment. It
   27   should adequately allow Defendants to prepare their defense against Plaintiffs’
   28   claims while expeditiously moving this case toward resolution.


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    1          Plaintiffs’ proposed schedule, however, does none of those things. Plaintiffs
    2   again propose the same March 2023 trial date that the Court already rejected at the
    3   June 30 hearing. (See June 30, 2022 Hearing Tr. at 12:7-12 (PLAINTIFF’S
    4   COUNSEL: “we would like the Court to order today the March 27 th, 2023 trial
    5   date…. THE COURT: Let me stop you, Ms. Cohen. The answer to that is no.”).3
    6   Plaintiffs’ schedule continues to be plainly unrealistic. It (a) includes a fact
    7   discovery cut-off date on Thanksgiving Day; (b) provides expert witnesses—
    8   including those who may need to be retained based on discovery—just four
    9   business days to draft their expert reports after the close of fact discovery; (c)
   10   provides only two months (including year-end holidays) to complete expert
   11   discovery; (d) provides two business days from the close of expert discovery before
   12   the parties need to bring Daubert motions or motions in limine; and (e) provides for
   13   one month for the parties to brief, and the Court to consider and hear, motions in
   14   limine, Daubert motions, and motions for summary judgment before the trial date.
   15   The Court stated it generously at the June 30 hearing that Plaintiffs’ schedule is
   16   “let’s say, too optimistic as far as scheduling.” (Hearing Tr. at 6:22-24.)
   17          At the June 30 hearing and in its tentative ruling for that hearing, the Court
   18   observed that Plaintiffs bear the burden of proof, and so their request for trial in
   19   March 2023 appeared reasonable because if Plaintiffs can be prepared for trial then,
   20   so can Defendants. (Doc. 1106 at 3.) Unfortunately, the issues are not that simple.
   21   Per earlier stipulations between the parties, Defendants could not pursue discovery
   22   on certain causation issues, response costs, allocation, or cross-defendant claims
   23   until resolution of the just-completed motions for summary judgment. (Doc. 615 at
   24   2-3.) Plaintiffs have most of the evidence concerning their case in their possession
   25   (such as response cost data), and Plaintiffs have had ample time over the past years
   26
   27   3
         Further citations to the June 30, 2022 hearing transcript will use the abbreviation “Hearing
   28   Tr.”


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    1   to develop their fact and expert arguments on that evidence. Further, Defendants are
    2   conducting investigations and/or remediation under the oversight of California
    3   DTSC and RWQCB and thus must upload reports and data in real time
    4   to envirostor.dtsc.ca.gov and geotracker.waterboards.ca.gov. Those online
    5   databases (available to Plaintiffs and the public) provide access to all of
    6   Defendants’ site reports and data. There is no equivalent for Plaintiff’s regional
    7   investigation and remedy work performed in conjunction with EPA. (The most
    8   recent technical document posted on EPA’s online Omega Chemical OU-2 site is
    9   from 2020.)
   10          Thus, Plaintiffs already have most of what they need for the second phase of
   11   the litigation. But Defendants will need to conduct discovery of Plaintiffs and EPA
   12   to obtain this crucial regional data, and they need time to do that. Defendants’
   13   proposed trial schedule provides that time.
   14          As Plaintiffs stated during the meet-and-confer process concerning this joint
   15   report, Plaintiffs believe the Court intends to “split the baby” (playing off the
   16   Court’s earlier use of the phrase, see Hearing Tr. at 12:18) on the parties’
   17   competing trial schedules, thus choosing some date between March 2023 and
   18   October 2023. But the Court should disregard Plaintiffs’ schedule entirely because
   19   it has no realistic chance of actually working. Their demand for a March 2023 trial
   20   date is calculated to prevent Defendants from having a meaningful opportunity to
   21   prepare for trial.4 Defendants also earlier proposed a January 2025 trial, and
   22   Defendants’ proposal now of an October 2023 trial is a significant concession that
   23   goes well beyond meeting in the middle. Indeed, several defendants still believe an
   24   October 2023 trial will unfairly prejudice them, but Defendants still propose that
   25
        4
   26    Indeed, during the meet-and-confer process for this joint report, Plaintiffs proposed adding
        one month to their equally unreasonable initial proposal of a March 2023 trial date. But
   27   Plaintiffs stated that if Defendants did not accept, Plaintiffs would revert to their March
   28   2023 trial date proposal.


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    1   date mindful of the Court’s comments. The Court should adopt Defendants’
    2   schedule.
    3
                 A.    Defendants Propose a Trial Date of October 16, 2023 Following a
    4                  Reasonable and Measured Pre-Trial Schedule
    5            Defendants propose the following schedule for the remainder of this action,
    6   starting with the trial date and working backwards:
    7
                                Event                          Weeks             Date
    8                                                          Before
    9                                                          Trial
   10    Trial                                                    0          Oct. 16, 2023
   11    Final pre-trial conference & hearing cut-off             2           Oct. 2, 2023

   12    Mandatory ADR completion date                            5          Sept. 8, 2023
         Last day to file replies for motions in limine,          4          Sept. 15, 2023
   13
         Daubert motions, or motions for summary
   14    judgment
   15    Last day to file oppositions for motions in              6          Sept. 1, 2023
         limine, Daubert motions, or motions for
   16
         summary judgment
   17    Last day to file motions in limine, Daubert              9          Aug. 11, 2023
   18    motions, or motions for summary judgment
   19    Last day to depose Rule 26(a)(2)(D)(ii) rebuttal         13         Jul. 14, 2023
         experts
   20
         Last day to disclose Rule 26(a)(2)(D)(ii)                19          Jun. 2, 2023
   21    rebuttal experts and exchange rebuttal expert
   22    reports

   23    Last day to depose Rule 26(a)(2)(D)(i) experts           23         May 5, 2023
         Last day to disclose Rule 26(a)(2)(D)(i) experts         30         Mar. 17, 2023
   24
         and exchange expert reports
   25
         Fact discovery cut-off date                              34         Feb. 17, 2023
   26    Further status conference re: discovery                  57         Sept. 19, 2022
   27    Updated initial disclosures due                          64         Jul. 22, 2022
   28


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    1          To briefly explain some of the line items above:
    2          1.     The July 22, 2022 deadline for updated initial disclosures is
    3   appropriate because of the accelerated trial schedule. Defendants initially asked for
    4   a July 29, 2022 initial disclosures deadline in conjunction with their earlier January
    5   2025 proposed trial date, but Defendants understand the Court’s desire to resolve
    6   this matter more promptly. Accordingly, Defendants request an accelerated timeline
    7   on the parties’ providing updated initial disclosures.5
    8          2.     Defendants propose the Court set a further status conference on
    9   September 19, 2022 to discuss the status of discovery. Before the end of July 2022,
   10   Defendants intend to serve written discovery requests and deposition notices to the
   11   various plaintiff entities, as well as the project managers involved with OU-2
   12   groundwater remediation. Plaintiffs’ responses to those discovery requests will be
   13   due no later than the end of August 2022. Based upon previous meet-and-confer
   14   efforts, Defendants anticipate Plaintiffs will object to a substantial amount of the
   15   discovery requests, and the Court may need to resolve those objections.6
   16   Defendants will know more about Plaintiffs’ positions after discovery is served, and
   17
   18   5
         During the meet-and-confer process for this joint report, Defendants proposed the July 22,
   19   2022 deadline for updated initial disclosures. Plaintiffs refused, insisting upon their
        previously-requested July 29 deadline.
   20
   21
        6
          For example, Defendants informed Plaintiffs that they intend to issue Rule 30(b)(6)
   22   deposition notices to each of the individual plaintiffs to gather evidence whether each of the
   23   plaintiffs is entitled to contribution (e.g., whether each of those plaintiffs paid more than
        their fair share of necessary response costs). Plaintiffs previously objected to such discovery
   24   (see Doc. 600) based upon Plaintiffs’ purported willingness to stipulate to their own liability
   25   for OU-2 groundwater contamination. But Plaintiffs have never entered into such a
        stipulation. Plaintiffs also claimed during the meet-and-confer process that Defendants
   26   agreed not to seek discovery from individual Plaintiffs, but Defendants are unaware of any
   27   such agreement.
   28


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    1   request the Court schedule the conference to address possible delays resulting from
    2   discovery disputes between the parties.7
    3          3.     The fact discovery cut-off of February 17, 2023 provides for eight
    4   months (counting from July) of fact discovery. Those eight months are necessary
    5   because of the number of remaining factual issues requiring investigation, including
    6   (a) causation and response costs; (b) plaintiffs’ liability; (c) allocation; (d) cross-
    7   defendant claims; and (e) third-party claims.8
    8          4.     Following fact discovery cut-off (and the typical document dump that
    9   often occurs on that date), the parties have four weeks to complete review of fact
   10   discovery and for their Rule 26(a)(2)(D)(i) experts to finalize their expert reports,
   11   which are due on March 17, 2023. Defendants anticipate there could be 10-20
   12
        7
          Further, although Defendants will endeavor in good faith to meet the deadlines set forth in
   13
        their proposed schedule, Defendants must admit to the possibility that discovery disputes
   14   between the parties or other issues may cause delays justifying later requests to continue the
        trial date.
   15
   16   8
          Defendants maintain their position that consolidation of these proceedings with the Cal-
   17   Tron matter, and the addition of other third parties, is necessary for the Court to allocate
   18   fairly any liability in this matter. Defendants are not looking to delay these proceedings but
        believed earlier that the Court would want to exercise its sua sponte authority to consolidate
   19   the cases for efficiency purposes. See Devlin v. Transp. Communications Int'l Union, 175
   20   F.3d 121, 130 (2d Cir. 1999); Frazier v. Garrison, 980 F.2d 1514, 1531 (5th Cir. 1993).
        Defendants intend to bring a noticed motion for consolidation shortly. Defendants also
   21   intend to seek to join additional parties in relation to “orphan share” issues. The general rule
   22   in CERCLA cases is that a plaintiff seeking contribution must absorb allocation shares that
        are attributable to viable nonparties that plaintiff has failed to name as defendants. See
   23   Trinity Industries, Inc. v. Greenlease Holding Co., 903 F.3d 333, 368 n.6 (3d Cir. 2018);
   24   City of Wichita, Kansas v. Trustees of APCO Oil Corp. Liquidating Tr., 306 F. Supp. 2d
        1040, 1129 (D. Kan. 2003); United States v. Davis, 31 F. Supp. 2d 45, 68 (D.R.I. 1998)
   25   aff’d, 261 F.3d 1 (1st Cir. 2001). Thus, unless Plaintiffs either agree to assume any such
   26   orphan shares attributable to nonparties, or otherwise prove that any such nonparty PRPs
        are insolvent or defunct, additional PRPs (including the Cal-Tron defendants) will need to
   27   be joined to ensure a fair, reasonable and final allocation of alleged liability under
   28   CERCLA.


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    1   expert witnesses disclosed at that time – e.g., each individual defendant may have
    2   their own expert to discuss individual allocation issues, and there may be other
    3   defense expert witnesses to discuss causation and response costs. Thus, Defendants
    4   propose a seven-week period for deposition of those experts.
    5         5.     After finishing with those depositions, the parties have four weeks to
    6   disclose rebuttal experts and provide rebuttal expert reports. Assuming there will be
    7   fewer rebuttal expert witnesses, the schedule provides six weeks for depositions of
    8   those rebuttal experts.
    9         6.     The schedule then provides four weeks between the close of expert
   10   discovery and the deadline to bring motions in limine, Daubert motions, or motions
   11   for summary judgment. The schedule includes a typical briefing schedule (three
   12   weeks for opposition briefs, two weeks for reply), and then two additional weeks
   13   for the Court to consider the briefing and issue rulings at the pre-trial conference
   14   and hearing cut-off date on October 2, 2023.
   15
              B.     Plaintiffs’ Schedule Has No Realistic Chance of Working And Is
   16                Calculated to Prevent Defendants From Preparing Their Defense
   17         A brief review of Plaintiffs’ proposed schedule shows just how unrealistic
   18   and unreasonable it is:
   19         1.     Plaintiffs’ schedule provides less than five months to complete fact
   20   discovery. As noted above, Plaintiffs already have the evidence they need, which is
   21   either in their possession or available from public sources. Defendants need
   22   significant discovery from Plaintiffs and EPA and have not had an opportunity,
   23   until now, to even request disclosure of that discovery. Plaintiffs even misleadingly
   24   claimed in earlier briefing that fact discovery concerning the remaining issues to be
   25   litigated (e.g., causation, response costs, allocation) has already been completed, a
   26   point the Court stated in its tentative ruling. (See Doc. 1106 at 2.) That point is not
   27   true. Defendants have been unable to take any discovery on causation, response
   28


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    1   costs, or allocation until now. (See Doc. 615 at 2-3.) Thus, Plaintiffs’ argument that
    2   they can complete fact discovery in less than five months is completely one-sided.
    3          2.     There is no time in Plaintiffs’ fact discovery schedule for the parties to
    4   attempt to resolve discovery disputes or present those disputes to the Court for
    5   resolution.
    6          3.     A telling example of Plaintiffs’ unrealistic schedule is their date for the
    7   close of fact discovery, which falls on Thanksgiving Day.
    8          4.     Expert disclosures and reports are then due four business days after
    9   Thanksgiving, providing expert witnesses no time to analyze the discovered
   10   material and finalize their expert reports.
   11          5.     The schedule requires completion of expert discovery in December
   12   and January (two months, including year-end holidays). Plaintiffs earlier claimed
   13   that expert discovery should take three months (Doc. 1104 at 11:18), and so their
   14   proposal to complete expert discovery in two months is either misleading or
   15   sloppy.9 Plaintiffs stated in the meet-and-confer process that two months for expert
   16   discovery should be sufficient because the parties had a similar schedule for expert
   17   discovery for the recently-completed motions for summary judgment. But there, the
   18   parties only needed to depose a handful of expert witnesses on the limited number
   19   of issues relevant to the summary judgment motions. But it is likely the upcoming
   20   expert discovery process will include 10-20 expert witnesses, which necessitates a
   21   longer expert discovery period.
   22          6.     Following completion of expert discovery, the parties have two
   23   business days to bring any motions in limine, Daubert motions, or summary
   24   judgment motions. Briefing and hearings on those motions must be completed
   25
   26   9
         Plaintiffs also claim that the parties agreed to complete expert discovery in three months,
   27   but that also is wrong. Defendants earlier proposed six months for expert discovery, but
   28   have now reduced that proposal to four months.


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    1   within one month under plaintiffs’ schedule. That timeline is absurd in a complex
    2   case such as this.
    3                                             ***
    4           Plaintiffs have made no genuine effort to explain how their proposed
    5   schedule is realistically possible, which begs the question why they propose a
    6   March 2023 trial date. The reason is obvious – Plaintiffs seek to take advantage of
    7   the earlier phasing of the litigation because Defendants have had no opportunity yet
    8   to take discovery on the numerous issues remaining the litigation, while almost all
    9   of the factual evidence the Plaintiffs might want is already in their possession.
   10           Further, as they stated in the meet-and-confer process, Plaintiffs believe the
   11   Court will “split the baby” between the parties’ competing schedule proposals,
   12   picking a date somewhere in the middle of March 2023 and October 2023. But the
   13   Court has no baby to split here – Plaintiffs’ proposal is far from realistic in this
   14   case, and October is a far more reasonable, realistic goal. Defendants provide a
   15   measured and reasonable approach for the parties to ready this case for trial
   16   (including a significant concession from Defendants’ earlier January 2025 proposed
   17   trial date), and the Court should adopt that schedule.
   18           C.    Conclusion
   19           Defendants respectfully request the Court enter the proposed Order, attached
   20   as Exhibit A, setting forth the pre-trial deadlines and a trial date of October 16,
   21   2023.
   22
   23    DATED: July 7, 2022                     LATHROP GPM LLP
   24
   25                                    By:               /s/ Nancy Sher Cohen
   26                                            Nancy Sher Cohen
   27                                            Attorneys for Plaintiffs BASF Corporation et al.
   28


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    1
    2
         DATED: July 7, 2022               SSL LAW FIRM LLP
    3
    4
    5                               By:              /s/ Robert B. Martin
    6                                      Robert B. Martin III
                                           Defendants’ Liaison Counsel
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    1      CERTIFICATION OF CONCURRENCE FROM ALL SIGNATORIES
    2         I, Nancy Sher Cohen, am the ECF user whose ID and password are being
    3   used to file this Joint Scheduling Report for Phase 2. In compliance with C.D. Cal.
    4   Civ. L.R. 5-4.3.4(a)(2)(i), I hereby attest that I have obtained the concurrence of
    5   each signatory to this document.
    6
                                                             /s/ Nancy Sher Cohen
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                                                               Nancy Sher Cohen
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